             Case 5:18-cv-07182-EJD Document 259 Filed 10/21/24 Page 1 of 2




     Adron W. Beene SB# 129040
 1
     Adron G. Beene SB# 298088
 2   Attorney at Law
     1754 Technology Drive, Suite 228
 3   San Jose, CA 95110
     Tel: (408) 392-9233
 4   adron@adronlaw.com
 5
     Attorneys for defendants:
 6   PURETHINK LLC, a Delaware limited
     liability company, IGOV INC., a Virginia
 7   corporation, and JOHN MARK SUHY
 8
                         UNITED STATES DISTRICT COURT
 9
                        NORTHERN DISTRICT OF CALIFORNIA
10
     NEO4J, INC., a Delaware corporation,          CASE NO. 5:18-CV-7182 EJD
11   and NEO4J SWEDEN AB, a Swedish
     corporation,                                  [PROPOSED] ORDER
12
     Plaintiffs,                                   GRANTING MOTION TO
13   v.                                            WITHDRAW

14   PURETHINK LLC, a Delaware
15   limited
     liability company, IGOV INC., a
16   Virginia corporation, and JOHN
     MARK SUHY, an individual,
17
     Defendants.
18
     AND RELATED COUNTERCLAIMS
19

20         Adron W. Beene and Adron G. Beene, seek to withdraw as counsel for
21   defendant John Mark Suhy in the above-captioned litigation pursuant to L.R. 11-5
22   and CAL. R. Prof. Conduct 3-700. This court finds that, as the withdraw is based on
23   the consent of the client, and the granting of this motion will not cause substantial
24   prejudice or delay to any party,
25



        ORDER RE MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                                    4
            Case 5:18-cv-07182-EJD Document 259 Filed 10/21/24 Page 2 of 2




 1         IT IS HEREBY ORDERED THAT Adron W. Beene and Adron G. Beene’s

 2   Motion to Withdraw as Counsel for defendant John Mark Suhy is GRANTED.

 3   Adron W. Beene and Adron G. Beene’s representation of John Mark Suhy is hereby

 4   terminated in this proceeding.

 5

 6   DATED: October 21, 2024              _____________________________________
                                          EDWARD J. DAVILA
 7                                        United States District Judge
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



        ORDER RE MOTION TO WITHDRAW
        CASE NO. 5:18-cv-7182 EJD                                             5
